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 6                                     UNITED STATES DISTRICT COURT
 7                                         DISTRICT OF NEVADA
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 9     United States of America,
10                                                              Case No.: 2:13-cr-250-JAD-VCF
                         Plaintiff
11                                                      Order Denying Motion for Reconsideration of
                                  v.
                                                        Magistrate Judge’s Order Denying Motion to
12                                                        Modify Conditions of Pre-Trial Release
       Robert Kane et al.,
                                                                        [Doc. 118]
13                       Defendants
14
15           Robert Coleman is one of six defendants in this criminal-conspiracy action. On July 1, 2014,

16    Coleman and four of his codefendants filed a motion seeking modification of their pretrial-release

17    conditions.1 Their four-page motion argued that, because they faced a “patchwork” of different

18    conditions on their associations with each other, they should be allowed uniform restrictions bringing

19    them “up to the highest level of association prohibition.”2 Magistrate Judge Hoffman noted that “[i]t

20    is not unusual for co-defendants in a criminal case to have different conditions of release.”3 He

21    denied Coleman’s motion on September 10, 2014, because Coleman failed to provide any legal

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25               Doc. 110.
26           2
                 Id. at 2–3.
27           3
                 Doc. 115 at 3.
28                                                      1
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 1    rationale for modification beyond baldly citing 18 U.S.C. § 3142(c)(1)(B).4
 2           Coleman now timely appeals from the Magistrate Judge’s decision.5 This motion is even
 3    shorter than Coleman’s original motion for modification of his pretrial-release conditions; at three
 4    pages it, too, fails to cite any legal authority beyond “18 U.S.C. § 3142(e)(B).”6 And while Coleman
 5    argues that Magistrate Judge Hoffman’s order is “clearly erroneous,” he continues merely arguing
 6    that the “patchwork of conditions is in no way justified.”7 He provides no new legal arguments. I do
 7    not find any basis in either § 3142(e)(1)(B) or § 3142(e)(2)(B), or indeed, anywhere else in § 3142 to
 8    modify Coleman’s release conditions. And there is nothing inherently problematic with Coleman
 9    and his codefendants receiving different pretrial-release conditions.
10           Accordingly, it is hereby ORDERED that defendant Robert Coleman’s motion for review and
11    appeal from order denying motion to modify conditions of pre-trial release [Doc. 118] is DENIED.
12           DATED October 21, 2014.
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15                                                   _________________________________
                                                     Jennifer A. Dorsey
16                                                   United States District Judge
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23              Id. at 2–3; cf. Doc. 110 at 4. Three different magistrate judges ruled on the moving defendants’
      requests for modification because each of these magistrate judges set the various defendants’ original
24    pretrial-release conditions. See Docs. 115, 116, 119.
             5
25               Doc. 118.
26           6
                 Id. at 2.
27           7
                 Id. at 1–2.
28                                                        2
